                                    20-1237C
                             (Senior Judge Firestone)


                IN THE UNITED STATES COURT OF FEDERAL CLAIMS



                                  TEJA RAVI,

                                    Plaintiff,

                                        v.

                             THE UNITED STATES,

                                   Defendant.



           DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS


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                                         INTRODUCTION

       Defendant, the United States, respectfully submits this reply in support of its motion to

dismiss the complaint of the plaintiff, Teja Ravi.

       As the Court is aware, this case centers on a Government-created entity called the

University of Farmington (University). See generally Am. Compl., ECF No. 8 (hereafter, Am.

Compl.). The University was not an actual University. It was an undercover law enforcement

operation designed to ferret out illegal conduct and “expose student visa fraud.” Id. ¶¶ 1, 3, 8-

21, and 27. Mr. Ravi, an Indian citizen, claims he was wrongly singled out in these operations.1

Id. ¶ 1. He claims that he, unlike others, remitted money to the University in the pursuit of

higher learning, id. ¶ 9-22, rather than to fraudulently overstay his student visa. Because the

University was simply a front, and the Government never actually intended to (and therefore, did

not) provide him educational services, id. ¶ 9, Mr. Ravi insists he is within his rights to sue the

Government for breach of contract, id. ¶¶ 39-51.

       As we stated in our motion, there are three independent reasons why Mr. Ravi’s

complaint must be dismissed. First, although he labels his case as one arising under a contract,

Mr. Ravi plainly pleads a fraud case. In totality, Mr. Ravi claims that he was induced by fraud to

register with the University and now (having had his visa status revoked) demands his money

back. That claim of “fraudulent inducement” is a tort, and not remediable in this Court. Def.

Mot. to Dismiss, ECF No. 6 (hereafter, Mot.) at 5-6. Second, Mr. Ravi does not plausibly plead

all the necessary elements of his Tucker Act contract claim. His pleading acknowledges that




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          As we said in our moving papers, for the purposes of this motion, we must assume that
all of the allegations in Mr. Ravi’s complaint are true. Should this motion be denied, we reserve
the right to contest Mr. Ravi’s allegations in his amended complaint.
there was no mutuality of intent to contract on the part of the Government. It further fails to

provide any plausible explanation as to how undercover law enforcement officers (effectuating a

law enforcement operation) could have genuinely obligated the Government to provide Mr. Ravi

with educational services. Mot. at 4-5. Third, even assuming Mr. Ravi could articulate a valid

contract case, his suit would still be barred by the sovereign capacity doctrine. The activities that

Mr. Ravi identifies as “fraud” were unquestionably tied to the Government’s law enforcement

work, which is not susceptible to contract-based claims under the Tucker Act. Mot. at 6-7.

       Mr. Ravi fails to provide any persuasive reason why his case should not be dismissed.

He opposes our motion, but his opposition misunderstands (or misstates) the law, and ignores

clearly pleaded facts that undermine his case. And although Mr. Ravi has unilaterally filed an

amended pleading in an attempt to cure some of the more obvious deficiencies in his complaint,

Am. Compl., the spot-based changes he makes to his pleading do nothing to meaningfully

address the problems we have identified.2 The same fundamental problems persist.

Accordingly, Mr. Ravi’s complaint must be dismissed.

                                            ARGUMENT

I.     Both Mr. Ravi’s Amended Pleading And His Response To Our Motion Confirm That His
       Lawsuit Is Based Solely In Tort, Not Contract

       In our motion, we explained that Mr. Ravi’s pleading must be dismissed because the

“gravamen” of his suit resounds in tort. Mot. at 5-6. Mr. Ravi seems to acknowledge that his

lawsuit arises out of a tort, but insists that his claim “is not barred simply because it can be

stated” as one. Pl. Resp. to Mot., ECF No. 9 (hereafter, Pl. Resp.) at 3 (citing Dakota Tribal



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          Although Mr. Ravi does not explain how his amended pleading differs from its original
iteration, we include for the Court’s convenience an attachment to this filing identifying the five
places where Mr. Ravi has added language to his pleading. See Ex. 1, ¶¶ 8, 27, 36, 43, and 44.
Mr. Ravi also removed the words “from abroad” from paragraph 1 of his pleading.
                                                  2
Indus. v. United States, 34 Fed. Cl. 295 (1995)). According to Mr. Ravi, “even if [his

allegations] also [give rise to] a tort,” the Court may nonetheless take jurisdiction of his case

under the Tucker Act because he points to a “contract” that later sprang out of what he describes

as the Government’s fraudulent conduct. Id. (citing Morris v. United States, 33 Fed. Cl. 733

(1995)).

       Mr. Ravi misunderstands the law. Although a tortious misrepresentation claim may be

remediable under the Tucker Act if that claim can be traced back to an already-existing contract,

for instance, where there is a “tortious breach of contract,” see, e.g., Dakota, 34 Fed. Cl. at 297,

Morris, 33 Fed. Cl. at 742, the Tucker Act does not cover “fraudulent inducement” cases, where

the facts giving rise to the action predate the purported agreement. See Aetna Cas. and Sur. Co.

v. United States, 228 Ct. Cl. 146, 164 (1981) (explaining that “fraudulent inducement and

misrepresentation” claims are “expressly beyond Tucker Act jurisdiction” (internal citations

omitted)); Reforestacion de Sarapiqui v. United States, 26 Cl. Ct. 177, 191 (1992), aff'd, 985

F.2d 583 (Fed. Cir. 1992) (dismissing claim of “fraud in the inducement,” because it

“presupposes that certain tortious acts were committed by [the Government] prior to the

execution of the written contracts, and not after the execution and in the performance thereof”

(emphasis in original)); Dakota, 34 Fed. Cl. at 298 (explaining that “contractual relationship”

must “pre-exist[]” the actions for which plaintiff sues (citing L’Enfant Plaza Properties, Inc. v.

United States, 227 Ct. Cl. 1, 11 (1981)).

       Here, Mr. Ravi is not alleging that the Government committed fraud emanating out of an

already-existing Tucker Act contract. Instead, he is alleging that the purported contract itself

would not exist but for the Government’s purported misrepresentations, meaning he is suing for

the underlying fraudulent act itself. This Court has repeatedly held that it lacks jurisdiction over



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those types of claims. E.g., See Phang v. United States, 87 Fed. Cl. 321, 325–26 (2009), aff'd

sub nom. Phu Mang Phang v. United States, 388 F. App’x 961 (Fed. Cir. 2010) (dismissing

claim that the Government knowingly made misrepresentations to induce the complainant to sign

a plea agreement, which is a tort); Outlaw v. United States, 116 Fed. Cl. 656, 662 (2014) (same);

Piotrowski v. United States, No. 13-760C, 2014 WL 7476033, at *13 (Fed. Cl. Dec. 30,

2014), aff’d, 722 F. App’x 982 (Fed. Cir. 2018) (dismissing claim that “the Army ‘intentionally

misled’ [the plaintiff] into entering an enlistment agreement,” on the ground that the claim is

a “tort” (citing Restatement (Second) of Torts § 525 (1977)).

        Mr. Ravi cannot ignore his pleaded facts. He explains repeatedly that his case is in fact a

“fraudulent inducement” case. Mr. Ravi starts his pleading by claiming that the Government

made “false” and “misleading” promises designed to “manipulate” and “deceive the public.” Id.

¶ 10. He adds that the Government’s measures were nothing more than “an effort to induce

students,” id. ¶ 15, into believing “that the University was a legitimate and authorized school,”

id. ¶ 27. He insists that these “actions and assurances”—capped by the use of “phony credentials

and misleading and false statements,” id. ¶ 10—were “fabricated,” id. ¶ 19, and that is what

caused him to register for the University, id. ¶ 15. He repeatedly refers to the University as a

“fake,” a “façade,” a “sham,” and “fraudulent,” id. ¶¶ 4, 8, 10, 27, and concludes by urging the

Court to hold the Government “liable for intentional and/or negligent misrepresentations,” and

“false promises,” id. ¶ 36(d)(viii) & (x). Indeed, making no attempt to hide the true grounds for

his case, Mr. Ravi insists that a triable issue in this case is “[w]hether the University is liable for

fraud.” Id. ¶ 36(d)(ix). Both in substance and in form, Mr. Ravi “pervades [his] pleading with

insinuations of scienter, which, if properly presented would mean that the petition would clearly

have to be dismissed as a demand[] founded in tort.” Degenaars Co. v. United States, 2 Cl. Ct.



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482, 490 (1983) (citations omitted); see United States v. Neustadt, 366 U.S. 696, 703 (1961)

(instructing courts to “look beyond the literal meaning of the language to ascertain the real cause

of complaint”).

        As we said in our motion, Mr. Ravi’s complaint bears all the hallmarks of a garden-

variety fraud claim, which is a tort. The Tucker Act specifically excludes tort cases from this

Court’s jurisdiction. 28 U.S.C. § 1491(a)(1) (“The United States Court of Federal Claims shall

have jurisdiction to render judgment upon any claim against the United States ... for liquidated or

unliquidated damages in cases not sounding in tort.”). Because Mr. Ravi’s amended pleading

resounds in fraud, it must be dismissed.

II.     There Was No Tucker Act Contract To Provide Mr. Ravi With Educational Services

        Mr. Ravi’s complaint fails for another reason. In our motion, we explained that Mr. Ravi

was unable to plausibly plead all the basic elements of his purported contract case. For instance,

to establish that the Government agreed to contractually obligate itself under the type of contract

he alleges, we explained that “Mr. Ravi must identify someone (or some entity) capable of

binding the United States to a contract to provide him with the services he claims were

withheld.” Mot. at 4 (citing, in part, City of Cincinnati v. United States, 153 F.3d 1375, 1377

(Fed. Cir. 1998). Mr. Ravi made no attempt to plead this last necessary element, and we argued

that omission, by itself, was fatal to his case.3

        Recognizing that his pleading was in fact deficient, Mr. Ravi unilaterally amended his

pleading after we filed our motion. He now adds language to his pleading claiming that “law

enforcement personnel” “had actual authority to bind the government in contract” to provide him



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         Mr. Ravi claims “more recent case law” shows that Government authority is no longer a
necessary element to establish a Tucker Act contract. Pl. Resp. at 2. That is not correct, and
none of the cases he cites support that proposition. See id.
                                                    5
with educational services, Am. Compl. ¶ 42, or that someone in the Government with that

authority must have later “ratified th[os]e contracts….” Am. Compl. ¶ 43.

       Adding conclusory labels to allegations does not cure the issues we identified. See Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (requiring a plaintiff to plead more than

labels and conclusion); Schweitzer v. United States, 82 Fed. Cl. 592, 594–95 (2008) (“a

formulaic recitation of the elements of a cause of action will not do” (quoting Twombly, 550 U.S.

at 555)). Especially in cases that challenge undercover law enforcement functions, a plaintiff

should “direct the Court’s attention to anything that would vest in [some individual] the specific

authority to bind the United States in contract.” Silva v. United States, 51 Fed. Cl. 374,

378, aff’d, 51 F. App’x 12 (Fed. Cir. 2002). For instance, because Mr. Ravi is claiming that law

enforcement agents had “actual authority to bind the government in contract,” Am. Comp. ¶ 43;

see also Pl. Resp. at 2, he must identify where in “the Constitution, a statute, or a regulation” a

percipient Government official is granted that authority “in unambiguous terms,” Villars v.

United States, 126 Fed. Cl. 626, 635 (2016) (quoting Jumah v. United States, 90 Fed. Cl. 603,

612 (2009)). Mr. Ravi cites none of these things in support of his pleading.

       Instead, Mr. Ravi suggests that one must plausibly conclude that law enforcement

officials had implied authority to execute educational services contracts with “students” because

that authority was necessary for them to carry out their duties in these operations. See Pl. Resp.

at 2; Am. Compl. ¶¶ 27, 42-43. But that explanation makes no sense. The University was an

undercover operation to “expose student visa fraud.” Am. Compl. ¶ 1. It was not an actual

University that provided educational services. Id. ¶¶ 8-21. It is implausible, therefore, to assume

that law enforcement needed authority to bind the Government to contracts for the provision of




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educational services that Mr. Ravi concedes the Government never planned to provide.4

Whatever representations law enforcement personnel made, they made in the furtherance of

legitimate law enforcement goals. Accordingly, the only authority these officers needed was the

authority to make those representations, which is something vastly different than the authority

required to actually bind the United States to a legitimate contract for educational services.

       As we indicated in our motion, a Federal district court dismissed a largely identical

breach of contract claim involving a Government-created university on these same legal grounds.

Zhu v. Dep't of Homeland Sec., No. 2:18-489, 2019 WL 4261167, at *4 (W.D. Wash. Sept. 9,

2019) (dismissing complaint because plaintiff did not “allege facts that plausibly show a

government’s representative had actual authority to bind the government in contract”). Mr. Ravi

attempts to distinguish Zhu by claiming that “the plaintiff in that case” “did not allege that a

government’s representative had actual authority to bind the government in contract.” Pl. Resp.

at 3. In fact, that is precisely what the plaintiff in that case pleaded, when he alleged that the

University “was properly authorized to issue him . . . a valid Form I-20,” which is a document

normally provided to students by educational institutions. Zhu, 2019 WL 4261167, at *4. That

is more than what Mr. Ravi alleges here. See Am. Compl. ¶¶ 42-43 (conclusory allegations).

Yet even in Zhu, the court found that the plaintiff had not “plausibly show[n]” how law

enforcement personnel, working undercover as administrators, could possibly have been vested



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          Mr. Ravi argues that “[d]iscovery” will allow him “to further identify the United States
personnel involved” and the “authority” with which law enforcement personnel acted—directly
or institutionally—to “bind the students in contract.” Pl. Resp. at 2, 5-6. But again, the
University was nothing more than a front for an undercover law enforcement operation, and the
Government never intended to provide educational services. The only authority officers were
required to have was the authority to make representations, which is not the same thing as the
authority required to legitimately bind the United States to an educational services contract.
Twombly, 550 U.S. at 556 (explaining that a complaint must allege plausible “fact[s]” that “raise
a reasonable inference that discovery will reveal evidence” to support a claim).
                                                  7
with authority to bind the Government to those kinds of services. See Zhu, 2019 WL 4261167, at

*4. Zhu is substantively indistinguishable from the present case.

       Aside from the issue of contractual authority, Mr. Ravi’s contract case fails in another

way. In order for Mr. Ravi to plead his breach of contract case, he must allege facts

demonstrating mutuality of intent to contract. See Seuss v. United States, 535 F.3d 1348, 1359

(Fed. Cir. 2008) (explaining that mutuality of intent to contract is a necessary contractual

element). Yet Mr. Ravi’s pleading acknowledges repeatedly that the Government never

intended to provide him with any educational services. See Am. Compl. ¶¶ 1, 3, 8-21. Absent

mutuality of intent, the agreement Mr. Ravi purports to identify as giving rise to his case never

existed. Utley v. Donaldson, 94 U.S. 29, 47, 24 L. Ed. 54 (1876) (“Where there is a

misunderstanding as to anything material, the requisite mutuality of assent as to such thing is

wanting; consequently the supposed contract does not exist, and neither party is bound.”);

Kellogg Brown & Root Servs., Inc. v. United States, 99 Fed. Cl. 488, 515 (2011), aff’d, 728 F.3d

1348 (Fed. Cir. 2013), opinion corrected on denial of reh’g, 563 F. App’x 769 (Fed. Cir. 2014)

(explaining circumstances where a contract can be deemed void ab initio where a “false

statement” “induce[s] the contract so that no mutual assent can be said to have existed”). 5

       This highlights precisely why Mr. Ravi’s case is not actually a contract case. In response

to our motion, Mr. Ravi seems to argue that even absent mutuality of intent, he has pled a viable



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          As it relates to the question of mutual assent, Mr. Ravi states that “[f]or contracts, courts
do not look to the internal desires of parties; rather courts look to express intent of the parties.”
Pl. Resp. at 6. Mr. Ravi seems to misunderstand our point. Certainly courts should look to the
text of a contract to determine whether a contract exists and what promises were exchanged. The
problem with Mr. Ravi’s case, however, is that he pleads himself out of an allegation of mutual
assent. See Perez v. United States, 156 F.3d 1366, 1370 (Fed. Cir. 1998) (explaining that courts
must assume that all well-pled factual allegations are true for purposes of a motion to dismiss for
failure to state a claim). His own pleaded facts defeat the contractual basis for his case.


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contract claim that the Court has jurisdiction to review because the Government unjustly retained

some benefit. See Am. Compl. ¶¶ 8, 27, 36(d)(vii) & (xiii), 44, 50. He makes that claim

repeatedly, and in fact, amended his pleading to emphasize the point. Id. ¶¶ 8, 27, 44. But that

merely describes an implied-in-law contract claim—such as a “quasi-contract” claim for unjust

enrichment or quantum meruit—which is a fictional contract claim that is not redressable under

the Tucker Act. Baha v. United States, 144 Fed. Cl. 500, 507 (2019) (dismissing “quasi-

contract” claim where “Army occupied the subject property without paying rent” because the

Tucker Act does not confer the Court with jurisdiction over “implied in law contract” claims)

(citing Hercules Inc. v. United States, 516 U.S. 417, 423, 116 S.Ct. 981, 134 L.Ed.2d 47 (1996)

& Lumbermens Mut. Cas. Co. v. United States, 654 F.3d 1305, 1316 (Fed. Cir. 2011)); Collins v.

United States, 532 F.2d 1344, 1351 (Ct. Cl. 1976) (citing 1 Corbin on Contracts, s 19 (2d ed.

1963)) (explaining that, unlike genuine contract claims, where “the equivalent of mutual assent is

present,” “a contract implied in law is one in which a duty to make restitution is implied,

regardless of the lack of mutual assent, for reasons of justice and equity.” (emphasis added)).

Mr. Ravi provides no precedential support for the notion that this Court may entertain quasi-

contract claims lacking mutuality of intent as long as there is an allegation the Government

retained some benefit of the supposed bargain, nor are we aware of any.

       At its heart, Mr. Ravi’s complaint pleads (and seeks to recover) under a tort claim or

some claim based on equity. His case is not founded upon a legitimate contract, nor does he seek

to recover under one. That is evident based upon any fair reading of his pleading. Accordingly,

Mr. Ravi’s breach of contract claim must be dismissed.




                                                 9
III.   The Sovereign Capacity Doctrine Bars Mr. Ravi’s Lawsuit

       As we explained in our motion, this Court—under the sovereign capacity doctrine—has

repeatedly barred review of purported contract actions that arise out of “criminal” or “civil

enforcement actions . . . that could only be undertaken by the sovereign.” Aluminum Shapes,

LLC v. United States, 139 Fed. Cl. 709, 714 (2018); see Trudeau v. United States, 68 Fed. Cl.

121, 127 (2005), aff’d, 186 F. App’x 998 (Fed. Cir. 2006) (citations omitted). Where the

Government is acting in a uniquely sovereign function that lacks “a private analogue,” this Court

has held that the Government has not clearly and unequivocally waived its sovereign immunity.

Awad v. United States, 61 Fed. Cl. 281, 284 (2004)

       In response, Mr. Ravi argues that the doctrine should not apply here because the

educational services “contracts at issue [here] were only tangentially related to carrying out a law

enforcement purpose.” Pl. Resp. at 4. He argues that the law enforcement personnel were

effectively “stepp[ing] off the throne” when they “engaged[d] in the sale of educational

services.” Pl. Resp. at 3. It is unclear how Mr. Ravi can make that claim. The entire purpose of

the University—indeed, the sole purpose of the Government’s purported representations—was to

effectuate an undercover law enforcement operation and “expose student visa fraud.” Am.

Compl. ¶ 1. There is no dispute that these representations were fundamental to the undercover

law enforcement operation. What might appear “on [its] face to be a commercial agreement

between two private parties,” was actually made “for the purpose of furthering undercover law

enforcement operations . . . activities that, without question, lie at the heart of sovereign action.”

Silva, 51 Fed. Cl. at 377 (citation omitted). The sovereign capacity doctrine bars contract-based

lawsuits on these grounds.




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       Mr. Ravi relies on Sommers Oil Co. v. United States to argue that the sovereign capacity

doctrine applies only to “active criminal cases” or in instances where the Government is being

asked to “pay[] monetary damages for seized contraband.” Pl. Resp. at 4 (citing 241 F.3d 1375

(Fed. Cir. 2001)). But that is plainly incorrect. Nearly all the cases we cite apply the doctrine in

actions that neither involve crimes nor the seizure of contraband. E.g., Aluminum Shapes, 139

Fed. Cl. at 714 (applying doctrine to bar suit under a civil settlement agreement); Trudeau, 68

Fed. Cl. at 127 (2005) (same); Awad, 61 Fed. Cl. at 284 (applying doctrine to bar suit regarding

“granting of citizenship and passports” which are “solely governmental functions”). As we said

in our motion, the sovereign capacity doctrine bars contract-based lawsuits under the Tucker Act

in instances where the Government is clearly acting in a non-private, law enforcement capacity.

This case involves one such instance.6




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          Informant cases—where law enforcement agents allegedly procure informant services
in the furtherance of law enforcement objectives—are different. See Silva, 51 Fed. Cl. at 377
(discussing the interplay between the sovereign capacity doctrine and its nexus to informant
cases). In those cases, the Government can (and sometimes does) “step off the throne” to secure
informant services through agreements that can be ratified (either directly or institutionally) by
the Government. E.g., Villars, 126 Fed. Cl. at 635-37. The purported agreement here—where
the Government does not procure anything resembling goods or services and which lies at the
heart of the Government’s undercover operation—does not resemble anything close to an
informant services contract.
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                                          CONCLUSION

       For these reasons, we respectfully request that the Court dismiss Mr. Ravi’s amended

complaint for lack of subject matter jurisdiction or, alternatively, for failure to state a claim upon

which relief may be granted.


                                                       Respectfully submitted,

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                                                       Acting Assistant Attorney General

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February 24, 2021                                      Attorneys for Defendant




                                                  12
                                  CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury that on this 24th day of February 2021, a copy of

the foregoing “DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

PLAINTIFF’S AMENDED COMPLAINT” was filed electronically. I understand that notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.




                                        s/ Meen Geu Oh




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EXHIBIT 1
           Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 1 of 12




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                                               %?   
        )'+0'$$                                       )5>9?B!E4759B5CD?>5
                                     
2                                              
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&#+'0#"00#/,$ *#.'!                    
                                     
         #$#+"+0                    
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                                                 
       
        '<19>D966*5:1(1F9O'<19>D966P2I1>4D8B?E7889C1DD?B>5IC2B9>7CD89C13D9?>?>2581<6
?689=C5<61>41<<?D85BCC9=9<1B<IC9DE1D541719>CDD85+>9D54)D1D5C '<19>D96685B52I1<<575C?>
9>6?B=1D9?>1>425<9565H35@D1CD?D8?C51<<571D9?>CG8938@5BD19>D?D85>1=54'<19>D966G8938
1<<571D9?>C1B521C54?>@5BC?>1<;>?G<54751C6?<<?GC
                              
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                                                     
                *85 +>9F5BC9DI ?6 1B=9>7D?> =1B;5D54 9DC5<6 1C 1 E>9F5BC9DI D81D O@B?F945/C0
CDE45>DC6B?=D8B?E78?EDD85G?B<41E>9AE554E31D9?>1<5H@5B95>35P1>43<19=54D?253B549D54
2ID85$938971>5@1BD=5>D?6#935>C9>71>4(57E<1D?BI6619BC1>4D8533B549D9>7?==9CC9?>
?61B55B)38??<C1>4?<<575C 1B=9>7D?>1<C?3<19=549DG1C1ED8?B9J542ID85)DE45>D1>4
H381>75,9C9D?B'B?7B1=D81D1<<?GCD8514=9DD1>35?66?B597>CDE45>DC ?G5F5B1B=9>7D?>
G1C>?D89>7=?B5D81>161K145  D9C>?GG5<<;>?G>D81DD85+ )  ==97B1D9?>1>4ECD?=C
>6?B35=5>DQC ?=5<1>4 )53EB9DI >F5CD971D9?>C O) P 3B51D54 1B=9>7D?> 9> 1> 1DD5=@D
5H@?C5CDE45>DF9C16B1E49>D85+>9D54)D1D5C .5DD85B5G1C>?G1I6?B@B?C@53D9F5CDE45>DCD?
49CD9>7E9C81B=9>7D?>6B?=1B51<E>9F5BC9DI 1B=9>7D?>3B51D54G81D1@@51B54D?251<579D9=1D5
G52@B5C5>35D8B?E789DCG52C9D51>4*G9DD5B *85G52C9D5G5>DC?61B1CD?81F5214G51D85B
1<5BDC 6?B CDE45>DC  +<D9=1D5<I D85B5 G1C >? B51C?> 6?B 1 CDE45>D 1@@<I9>7 D? ;>?G ?B 81F5 1
CEC@939?>D81D1B=9>7D?>G1C161;5E>9F5BC9DI 
                '<19>D966 1>4 3<1CC =5=25BC 1@@<954 1>4 5>B?<<54 1D 1B=9>7D?> G9D8 D85
E>45BCD1>49>7D81D9DG1C1>133B549D54E>9F5BC9DI?665B9>7<579D9=1D5457B55C9>CE38@B?7B1=C1C
1$1CD5BC9> >6?B=1D9?>*538>?<?7I1>41$1CD5BC9>?=@ED5B)395>35 1B=9>7D?>B5AE9B54
D81D'<19>D9661>43<1CC=5=25BC@1IDE9D9?>E@?>1335@D1>35 <<3<1CC=5=25BCG5B59>6?B=54
D81D D85B5 G?E<4 25 B57E<1B 3<1CC5C 5138 =?>D8 1>4 1<< 3<1CC =5=25BC 5>B?<<54 9> D85 ?><9>5
@B?7B1=1C=?CD?6D85CDE45>DC<9F54?EDC945?6D85CD1D5?6$938971>1>4 ?BG5B5E>12<5D?1DD5>4
?>31=@EC3?EBC5C4E5D?D859B5=@<?I=5>D %?>5?6D85CDE45>DCB5359F54C5BF935C9>5H381>75
6?BD859BDE9D9?> 
               >!1>E1BI     565>41>DB5F51<54D81DD85+>9F5BC9DIG1C1C81=1>4B5>5754
?> D859B 7E1B1>D55C D81D '<19>D966 1>4 <1CC =5=25BC 814 @B?@5B<I 1485B54 D? 9==97B1D9?>
B57E<1D9?>C 1>4 G5B5 D85B56?B5 <1G6E<<I B5C949>7 1>4 G?B;9>7 9> D85 +>9D54 )D1D5C  565>41>D
9>CD514814D851E4139DID?B5F?;5'<19>D9661>4<1CC=5=25BCF9C1CD1DEC133EC9>7D855>B?<<55C
?6F9C16B1E45F5>D8?E78'<19>D9661>4<1CC=5=25BCG5B5E>G9DD9>7F93D9=C?6565>41>DQC
C385=51>4814B51C?>12<I25<95F549>565>41>DQC13D9?>C1>41CCEB1>35CD81DD85+>9F5BC9DI
G1C1<579D9=1D51>41ED8?B9J54C38??< 
              *85+>9F5BC9DIDEB>54?EDD?2516B1E4E<5>D1>445@B9F543<1CC=5=25BC?6
=9<<9?>C?64?<<1BCG9D8?ED@B?F949>7D85C5BF935CD81D9D?665B541>4@B?=9C54 '<19>D966
D85B56?B52B9>7CD89C13D9?>?>2581<6?689=C5<61>41<<?D85BC9=9<1B<IC9DE1D54@5BC?>CG8?
5>B?<<541DD85+>9F5BC9DI?61B=9>7D?>1CC5BD9>7B5138?6?>DB13D1>4B5138?6D85 =@<954
?F5>1>D?6??419D81>419B51<9>7 '<19>D966C55;C41=175C1>45AE9D12<5B5<956?>2581<6
?6D85<1CCG8938B5<9569>3<E45C2ED9C>?D<9=9D54D?D856?<<?G9>7B56E>49>7'<19>D9661>4
3<1CC=5=25B6E<<1=?E>D@194D?D85+>9F5BC9DI?61B=9>7D?>3?CDC1>45H@5>C5C9>3<E49>7
1DD?B>5ICQ655C1>45H@5BD655C1>41>I1449D9?>1<B5<956D81DD89C?EBD45D5B=9>5CD?25
>535CC1BID?@B?F9453?=@<5D5B5<956D?'<19>D9661>4D853<1CC 
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             Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 3 of 12




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
            *85+>9D54)D1D5C?EBD?6545B1<<19=C81C:EB9C493D9?>1>4F5>E5?F5BD89C
13D9?>@EBCE1>DD? + )  M  1  
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                                                 
               '<19>D966*5:1(1F99C139D9J5>?6 >491G8?B5C94549>?ECD?>*5H1C1DD85D9=5
85 5>B?<<54 1D 1B=9>7D?>  EB9>7 D85 3<1CC @5B9?4 9> $1B38   '<19>D966 G1C 1335@D54 1>4
5>B?<<549>D85+>9F5BC9DI '<19>D966G1CD?<42I+>9F5BC9DI?669391<CD81D85G?E<481F5B57E<1B
3<1CC5C=?>D8<I '<19>D966@194  9>DE9D9?>D?D85+>9F5BC9DI1>425<95F54D85+>9F5BC9DIQC
G52C9D51>4=1B;5D9>7=1D5B91<B571B49>79DC133B549D1D9?> 
            565>41>D9CD85+>9D54)D1D5C1C13D9>7D8B?E789DC175>395C9>3<E49>7D85+ ) 
 ==97B1D9?>1>4ECD?=C>6?B35=5>DG89389C21C549>-1C89>7D?>  81C695<4?66935C
D8B?E78?EDD85+>9D54)D1D5C1>49C12B1>38?6) 
                                                     
                                                             
            *85 +>9F5BC9DI ?6 1B=9>7D?> G1C 1 61;5 E>9F5BC9DI C5DE@ 2I QC ?=5<1>4
)53EB9DI
       I >F5CD971D9?>C
                 7        1>4 ?F5BC55> 2II ) 1>4 G1C C5DE@   @ D? 5H@?C5
                                                                               @     CDE45>D F9C1 6B1E4 
565>41>D 1ED8?B9J54
565>41>D   1ED8?B9J54 )  1>4  ?B
                                   ?B )
                                       ) 175>DC
                                             175>DC
                                              7      D? C5DE@
                                                     D?  C5DE@ 1>4 BE>
                                                             @ 1>4   BE> D85
                                                                          D85 +>9F5BC9DI
                                                                               +>9F5BC9DI ?6 1B=9>7D?>
                                                                                        I ?6   1B=9>7D?>
                                                                                                      7
C385=59>3<E49>7D?5>B?<<CDE45>DCD?1335@DDE9D9?>@1I=5>DC1>4D?EC5D85C53?>DB13DCG9D8
C385=5 9>3<E49>77 D? 5>B?<< CDE45>DC D? 1335@D
                                                @ DE9D9?> @1I=5>DC 1>4 D? EC5 D85C5 3?>DB13DC G9D8
CDE45>DC1C121C9CD?B5F?;5D859BF9C1CD1DEC
CDE45>DC 1C 1 21C9C D? B5F?;5 D859B F9C1 CD1DEC 
             565>41>D?665B543<1CC5C1>4457B55@B?7B1=C?>D85+>9F5BC9DI?61B=9>7D?>
G52C9D51>4D8B?E78<5DD5BC?614=9CC9?> <1CC=5=25BC1335@D544565>41>DQC?665BC?614=9CC9?>
D?5>B?<<9>D85457B55@B?7B1=C <1CC=5=25BC@194DE9D9?>=?>5ID?D85+>9F5BC9DI ?G5F5B
D85565>41>D494>?D@B?F9453<1CC?B457B55@B?7B1=C1C?665B54 
             >1>566?BDD?=19>D19>1<579D9=1D561K145565>41>DEC5413?=@<5HC385=5?6
@8?>I3B545>D91<C1>4=9C<5149>71>461<C5CD1D5=5>DCD?5>B?<<541>4@B?C@53D9F5CDE45>DC *89C
C385=549>3<E454
        • CD12<9C89>71@8IC931<<?31D9?>
           o 565>41>D<51C541@8IC931<?669359>1B=9>7D?>9<<C$938971> %5F5BD85<5CC
               1<<14=9>9CDB1D9F59>D5B6139>725DG55>D85+>9F5BC9DI?669391<C1>4
               CDE45>DC @B?C@53D9F5CDE45>DC?33EBB544979D1<<I?BD5<5@8?>931<<I1C=1>I?6D85
               5>B?<<54CDE45>DC1>4@B?C@53D9F5CDE45>DCB5<954?>D85?><9>5651DEB5?6D85
               +>9F5BC9DI 
        • ><9CD9>7B53BE9D5BCD?<EB5CDE45>DC
           o 565>41>D5><9CD54D851CC9CD1>35?6>51B<I14?J5>B53BE9D5BCD?6E>>5<'<19>D966
               1>4<1CC=5=25BCD?5>B?<<9>D85+>9F5BC9DI?61B=9>7D?>B1D85BD81>?D85B
               <579D9=1D57B14E1D5@B?7B1=C *85C5B53BE9D5BC@B9=1B9<I6?B597>CDE45>DCG5B5
               9>C9=9<1BC?391<39B3<5C1C'<19>D9661>4<1CC=5=25BC1>41@@B?13854'<19>D966
               1>43<1CC=5=25BCG9D8?EDC?<939D1D9?> 565>41>D?665B54B53BE9D5BC9>35>D9F5C
               6?B<5149>7@?D5>D91<CDE45>DCD?D85+>9F5BC9DI9>D856?B=?631C8?B+>9F5BC9DI
               3B549DC (53BE9D5BC85<@546E>>5<>51B<IC9H8E>4B54 CDE45>DCD?5>B?<<1D
               1B=9>7D?> 
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        •    12B931D9>73B545>D91<C
              o 565>41>DG5>DD?7B51D<5>7D8CD?=1>9@E<1D56?B597>@B?C@53D9F5CDE45>DC2I
                 3B51D9>7D859=@B5CC9?>D81DD85+>9F5BC9DIG1C<579D9=1D5 *89C9>3<E454
                 o +>45B3?F5B175>DC?6D855@1BD=5>D?6?=5<1>4)53EB9DIB579CD5B9>7D85
                     +>9F5BC9DI?61B=9>7D?>G9D8D85CD1D5?6$938971>1C1<579D9=1D5E>9F5BC9DI
                     D8B?E785@1BD=5>D?6#935>C9>71>4(57E<1D?BI6619BC
                 o >1D9?>1<133B549D1D9?>175>3I33B549D9>7?==9CC9?>?61B55B)38??<C
                     1>4?<<575C1DD85B5AE5CD?6)<9CD54D85+>9F5BC9DI?61B=9>7D?>1C
                     259>7133B549D549>?B45BD?85<@45359F5@B?C@53D9F5CDE45>DC 
                 o 565>41>D@<139>7D85+>9F5BC9DI?>1> G52C9D5<9CD9>7D85+>9F5BC9DI1C
                     1>9>CD9DED9?>1@@B?F546?BD85)DE45>D1>4H381>75,9C9D?B'B?7B1=
                     O), )P
           *85+>9F5BC9DI6EBD85B5>D9354CDE45>D5>B?<<=5>DD8B?E78G81D1@@51B54D?251
<579D9=1D5G52@B5C5>35 
          B?= 9DC G52 @B5C5>35 9D G1C F9BDE1<<I 9=@?CC92<5 6?B 1 @B?C@53D9F5 CDE45>D D?
49665B5>D91D5D85+>9F5BC9DI6B?=1<579D9=1D5?>5 'B?C@53D9F5CDE45>DCB5C51B389>7C38??<CG5B5
4?9>7C?6B?=D859>D5B>5D1CD85=1:?B9DI>59D85B<9F549>?B>51B$938971>G85B5D85+>9F5BC9DI
G1C<?31D54 
           *85 +>9F5BC9DI 814 1 @B?65CC9?>1< G52C9D5 1 B54 1>4 2<E5 3?1D ?6 1B=C 1C 9DC
5=2<5=1#1D9>C<?71>=51>9>7O;>?G<54751>4G?B;P1>41@8IC931<<?31D9?>1D13?==5B391<
2E9<49>79>1B=9>7D?>9<<C$938971> EBD85BD85G52C9D5?665B54C@53969345D19<CB5<1D54D?9DC
3?EBC5C1>4@B?F9454DE9D9?>@B939>7 
        




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        &>5@175?>9DCG52C9D5B514
        #?31D549>D85851BD?6D851ED?=?D9F51>414F1>354=1>E613DEB9>735>D5B?6)?ED851CD
        $938971>D85+>9F5BC9DI?61B=9>7D?>@B?F945CCDE45>DC6B?=D8B?E78?EDD85G?B<41
        E>9AE554E31D9?>1<5H@5B95>35 &EB4I>1=932EC9>5CC14=9>9CDB1D9?>1>4)*$
        3EBB93E<E=1<<?GCCDE45>DCD?B1@94<I1@@<ID859B;>?G<5475@B5@1B9>7D85=D?CE33554
        9>1>5F5B7<?21<9J9>753?>?=I 
        >?D85B@17545C3B925C1>54E31D9?>1<1>43?<<12?B1D9F53?==E>9DI5>B?<<55C3?E<4251
@1BD?61D+
        -51B5F5BI5H39D5412?EDG5<3?=9>7I?ED?D85+3?==E>9DI1>485<@9>7
        I?E13895F5I?EB13145=937?1<C .?E<<69>4+D?251F92B1>D1>47B?G9>7
        9>CD9DED9?> G85B5 CDE45>DC 613E<DI 1>4 CD166 5>:?I 1 381<<5>79>7 1>4
        3?<<12?B1D9F55>F9B?>=5>D +81C1B?<<9>714=9CC9?>@B?35CC1>4?@5B1D5C?>
        1AE1BD5B<I13145=9331<5>41B )DE45>DC1B55>3?EB1754D?1@@<I51B<ID?5>CEB5
        1C=??D8DB1>C9D9?>D?+ 
     *85G52C9D51<C?<9CD541>445C3B9254D855>D939>72ED9<<EC?BI@B?7B1=C?665B542I
1B=9>7D?> (571B49>79DC7B14E1D5$@B?7B1=D85C9D5CD1D54

        *85DG?I51BC3854E<5?665BC13?>F5>95>DG1I6?BI?ED?1441=1CD5BC457B55
        D?I?EBBLCE=LG89<5I?EG?B;    )DE45>DC8?>5D859BC;9<<C9>@B?:53D1>4
        @B?7B1= =1>175=5>D AE1<9DI 9=@B?F5=5>D 9>9D91D9F5C 1>4 3B51D9F9DI 1>4
        @B?2<5= C?<F9>7  *89C 9>D5B13D9F5 1>4 3?<<12?B1D9F5 3?8?BD @B?7B1= 85<@C
        CDE45>DC2E9<4CDB?>7D95CG9D8D859B@B?65CC9?>1<613E<DI1>4719>@5BC@53D9F5C
        6B?=?D85B49C39@<9>5C1>4<5145BC9>9>4ECDBI 
       *85+>9F5BC9DIQCG52C9D5G5>D5F5>6EBD85B9>1>566?BDD?9>4E35CDE45>DCG9D8
CD1D5=5>DCCE381CD85C38??<OG1C133B549D542ID8533B549D9>7?==9CC9?>?61B55B)38??<C
1>4?<<575CGGG 133C3 ?B71>4<935>C542ID85$938971>5@1BD=5>D?6#935>C9>71>4
(57E<1D?BI6619BC1C1@B9F1D5@?CDC53?>41BI3?<<575 +9C1ED8?B9J542ID85)DE45>D1>4
H381>75,9C9D?B'B?7B1=D?14=9D6?B597>CDE45>DC P
             +<D9=1D5<I 9D G1C >51B 9=@?CC92<5 6?B 1 @B?C@53D9F5 CDE45>D D? 49C35B> D85
<579D9=13I?6D85+>9F5BC9DID8B?E789DCB53BE9D=5>D566?BDC1>4G52@B5C5>35 
               *85+>9F5BC9DI1<C?5>717549>9>49F94E1<3?==E>931D9?>F91@?CD1<1>45<53DB?>93
=19< G9D8 D85 @B?C@53D9F5 CDE45>DC  +@?> 1335@D1>35 ?6 1> ?665B <5DD5B 6B?= D85 +>9F5BC9DI 1
CDE45>DG1C5>B?<<541>4G1C14F9C54D81DD85B5G?E<425B57E<1B3<1CC5C=?>D8<I *85+>9F5BC9DI
1<C?=19<54CDE45>DC1>  5BD96931D5?6<97929<9DI6?B%?>9==97B1>D)DE45>D)D1DECD?CDE45>DC
<51F9>7D85=>?B51C?>D?AE5CD9?>D85+>9F5BC9DIQC<579D9=13I  3&' '0
             =19<C 6B?= +>9F5BC9DI ?669391<C 3?>D9>E54 D85 9=@B5CC9?> ?6 <579D9=13I  > 1>
5=19<D?@B?C@53D9F5CDE45>DC1>?669391<GB?D5
        *81>;I?E6?BI?EBB535>D9>D5B5CD9>*85+>9F5BC9DI?61B=9>7D?>1>1D9?>1<<I
        133B549D54 2EC9>5CC 1>4 )*$ C395>35 D538>?<?7I 5>79>55B9>7 1>4
        =1D85=1D93C9>CD9DED9?> 5B51DD85+>9F5BC9DI?61B=9>7D?>G581F53B51D54
        1>9>>?F1D9F5<51B>9>75>F9B?>=5>DD81D3?=29>5CDB149D9?>1<9>CDBE3D9?>G9D8
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        6E<<D9=5@B?65CC9?>1<5H@5B95>35C -5?665B6<5H92<53<1CCC3854E<5C1>416?3EC
        ?>CDE45>DCG8?4?>?DG1>DD?9>D5BBE@DD859B31B55BC  3&' '0     
              &D85B3?==E>931D9?>6B?=?669391<CB59D5B1D54D85+>9F5BC9DIQC612B931D543<19=C
B571B49>79DC@B?7B1=C1F19<12<5D?CDE45>DCG9D8CD1D5=5>DCCE381C
         >=1>I9>CD1>35CI?EB@B9?B$1CD5BC57B55QC$3B549DC3?=29>54G9D8
        '*31>251@@<954D?1C53?>4$9><95E?61DB149D9?>1<3?EBC5<?14 P>4
        853?>D9>E54D?8978<978DD85C385=5QC133B549D1D9?>O-51B5133B549D542ID85
        33B549D9>7?==9CC9?>?61B55B)38??<C1>4?<<575CGGG 133C3 ?B71>4
        <935>C542ID85$938971>5@1BD=5>D?6#935>C9>71>4(57E<1D?BI6619BC1C1
        @B9F1D5@?CDC53?>41BI3?<<575 
               *?6EBD85BCDB5>7D85>9DC3<19=?6<579D9=13I5=19<C6B?=D85+>9F5BC9DI
3?>D19>5416??D5BG9D8D856?<<?G9>7CD1D5=5>DO>1D9?>1<<I133B549D549>CD9DED9?>1ED8?B9J54
D?5>B?<<9>D5B>1D9?>1<CDE45>DC2ID85+ ) 5@1BD=5>D?6?=5<1>4)53EB9DI P
             +@?>5>B?<<=5>D1DD85+>9F5BC9DICDE45>DCG?E<4@1IDE9D9?>D?D85+>9F5BC9DI1>4
G5B514F9C54D81D13<1CCC3854E<5G?E<4256?BD83?=9>7 *853<1CCC3854E<5>5F5B1BB9F54 -85>
CDE45>DCAE5CD9?>54D85+>9F5BC9DIB571B49>7D85<13;?613<1CCC3854E<51>41CC97>=5>DCD85I
G5B5=5DG9D859D85BC9<5>35?B1CCEB1>35C6B?=1B=9>7D?>?669391<C12?EDD85<579D9=13I?6D85
C38??< 
        ?B5H1=@<5
               *5:1(1F9@194  9>DE9D9?>D?1B=9>7D?>16D5B855>B?<<549>$1B38                  
16D5BG893885G1C5>B?<<541>49>6?B=54D81D85G?E<481F51B57E<1B3<1CCC3854E<51>481F5
B57E<1B3<1CC ED85G1C>5F5B5>B?<<549>3<1CC5C?B79F5>1CC97>=5>DC CC??>1CD85C5=5CD5B
3?==5>3541>485CD9<<G1C>?D5>B?<<549>3<1CC5C853?>D13D54?669391<C1DD85+>9F5BC9DID?1C;
12?ED3<1CC5C1>41CC97>=5>D E>9F5BC9DI?669391<14F9C5489=>?DG?BBI12?ED9D1CD81DG1C>?D
1> 9CCE5  D G1C>QD E>D9< 12?ED 1 I51B 16D5B 5>B?<<=5>D *5:1 G1C 14F9C54 2I 1 6B95>4 D81D D85
+>9F5BC9DI G1C 1 61;5  *5:1 3?>D13D54 D85 +>9F5BC9DI D? 3<1B96I D89C BE=?B 1>4 G1C D?<4 2I 1
+>9F5BC9DI?669391<D81DD85BE=?BG1C>?DDBE5 (1F9>5F5BB5359F541>I54E31D9?>1<C5BF935C6B?=
D85+>9F5BC9DI 
             (1:1C5;81B(544I5>B?<<549>1B=9>7D?>9>&3D?25B           16D5B@1I9>7DE9D9?>9>
D85 1=?E>D ?6        (1:1C5;81B 1@@<954 16D5B B5C51B389>7 D85 C38??< ?><9>5 1>4 B5F95G9>7
1B=9>7D?>QCG52C9D5  >!1>E1BI       (1:1C5;81B<51B>54D85+>9F5BC9DIG1C161;5 5DB954
C5F5B1<D9=5CD?3?>D13DD85+>9F5BC9DI1>4B5359F54>?B5C@?>C5 
              %1F55> "E=1B 5>B?<<54 1D +>9F5BC9DI ?6 1B=9>7D?> 1B?E>4 $1I           %1F55>
F9C9D541B=9>7D?>$ 4EB9>7D855>B?<<=5>D@B?35CC2EDD85+>9F5BC9DIG1C3<?C54D8541I85
F9C9D54 6D5BB5C51B389>7D85+>9F5BC9DI?><9>5%1F55>E<D9=1D5<ICE2=9DD541>1@@<931D9?>1>4
1335@D54 9DC ?665B D? 1DD5>4  -85> %1F55> 2531=5 CEC@939?EC ?6 D85 +>9F5BC9DI 85 B5AE5CD54 1
DB1>C65B?689C), )D?1>?D85BC38??< 1B=9>7D?>G?E<4?><I17B55D?D85DB1>C65B9>5H381>75
6?B1@1I=5>D?6  G8938%1F55>@194 
            '1F1>)1=111B=9>7D?>CDE45>D4EB9>7D85D9=5@5B9?4?6565>41>DQC
E><1G6E<13DC8141C9=9<1B5H@5B95>35D??D85BCDE45>DC 53?BB5C@?>454G9D81+>9F5BC9DI
?669391<>1=541B5I5BB1>D5G8?C55=19<144B5CCG1C
31B5I 65BB1>D5E>9F5BC9DI?661B=9>7D?> 54E )1=1@194         9>DE9D9?>D?1B=9>7D?> 
            Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 7 of 12




              138?6D85C5CDE45>DC8143?==?>613DC1CC?391D54G9D8D859B=1DD5BCD85I5138
B5<954?>D85G52C9D5D85I5138B5<954?>9>49F94E1<3?==E>931D9?>CG9D8+>9F5BC9DICD166D85I
5138B5359F541>1335@D541>?665B?614=9CC9?>D85I51385>B?<<541>4@194D8?EC1>4C?6
4?<<1BC?6DE9D9?>>?>5?6D85=B5359F543<1CC9>6?B=1D9?>16D5B5>B?<<9>7>?>5?6D85=G5B5
5>B?<<549>3<1CC5CD8?C5G8?9>AE9B5416D5B5>B?<<9>7B5359F541CCEB1>35C>?>5?6D85=
B5359F541>IC?BD?6C5BF9356?BD85D8?EC1>4C?64?<<1BCD81DD85IC@5>D9>DE9D9?>=?>5I 
               >!1>E1BI      565>41>DB5F51<54D81DD85+>9F5BC9DIG1C1C81=1>4B5>5754
?>D859B7E1B1>D55CD81D'<19>D9661>4<1CC=5=25BC814@B?@5B<I1485B54D?9==97B1D9?>
B57E<1D9?>C1>4G5B5D85B56?B5<1G6E<<IB5C949>71>4G?B;9>79>D85+>9D54)D1D5C 565>41>D
9>CD514814D851E4139DID?B5F?;5'<19>D9661>4<1CC=5=25BCF9C1CD1DEC133EC9>7D855>B?<<55C
?6F9C16B1E45F5>D8?E78'<19>D9661>4<1CC=5=25BCG5B5E>G9DD9>7F93D9=C?6565>41>DQC
C385=51>4814B51C?>12<I25<95F549>565>41>DQC13D9?>C1>41CCEB1>35CD81DD85+>9F5BC9DI
                                                                                                   I
G1C1<579D9=1D51>41ED8?B9J54C38??<
         7                                565>41>D814;>?G<5475?6D853?>DB13DE1<B5<1D9?>C89@
                                           565>41>D 814 ;>?G<5475 7 ?6 D85 3?>DB13DE1< B5<1D9?>C89@  @
25DG55>565>41>D1>4'<19>D9661>43<1CC=5=25BC1DD89CD9=51CD858978B1>;9>7)
25DG55>   565>41>D 1>4 '<19>D966 1>4 3<1CC =5=25BC 1D D89C D9=5 1C D85 89787 B1>;9>77 ) 1>4
                                                                                               1>4 ?B
                                                                                                    ?B
)?669391<CG8?1ED8?B9J54D85+>9F5BC9DI?61B=9>7D?>C385=51>4D85B5F?31D9?>?6
)   ?669391<C G8? 1ED8?B9J54 D85 +>9F5BC9DII ?6 1B=9>7D?>
                                                           7    C385=5 1>4 D85 B5F?31D9?> ?6
1B=9>7D?>CDE45>DCQF9C1CD1DEC;>5GD81D+>9F5BC9DI?61B=9>7D?>G1C565>41>DQCC385=5
1B=9>7D?>
        7     CDE45>DCQ F9C1 CD1DEC ;>5G D81D +>9F5BC9DII ?6 1B=9>7D?>
                                                                    7    G1C 565>41>DQC C385=5
1>4;>5G?6'<19>D9661>4<1CC=5=25BCQCD1DEC1C1B=9>7D?>CDE45>DC1CD89CG1CD8521C9C6?B
1>4  ;>5G ?6 '<19>D966 1>4 <1CC =5=25BCQ CD1DEC 1C 1B=9>7D?>7    CDE45>DC 1C D89C G1C D85 21C9C 6?B
                                                                                                    6
B5F?;9>7D859BF9C1CD1DEC1>4133EC9>7D85=?6F9C16B1E4
B5F?;9>77 D859B F9C1 CD1DEC 1>4 133EC9>77 D85= ?6 F9C1 6B1E4 565>41>D;5@D1<<DE9D9?>=?>5I9D
                                                              565>41>D ;5@D 1<< DE9D9?> =?>5I 9D
3?<<53D546B?='<19>D9661>4<1CC=5=25BC
3?<<53D54  6B?= '<19>D966 1>4 <1CC =5=25BC 
        
                                           5            
               '<19>D966*5:1(1F9<51B>54?6D85+>9F5BC9DI6B?=16B95>4G8?14F9C5489=D81D85
3?E<4 1DD5>4 1<< 3<1CC5C ?><9>5 G8938 G?E<4 1<<?G 89= D? =19>D19> D85 EBB93E<1B 'B13D931<
*B19>9>7D81D1<<?G5489=D?1DD5>4C38??<1>43?>D9>E5G9D85=@<?I=5>D9>D85+>9D54)D1D5C 
'<19>D966 G1C 1<C? 5>D9354 2I D85 +>9F5BC9DIQC D8B55=?>D8 C5=5CD5B C3854E<5 1C 85 DB1F5<54
6B5AE5>D<I6?B89C3?>DB13D54G?B;G8938G1C?>1C9H=?>D821C9C 
              D D85 D9=5 '<19>D966 1@@<954 D? D85 +>9F5BC9DI 9> 51B<I       85 G1C 5>B?<<54 9>
5>79>55B9>7 3EBB93E<E= 1D %?BD8G5CD5B> '?<ID538>93 +>9F5BC9DI 9> 1<96?B>91 1>4 814 255>
7B1>D54 1 I51B CDE45>D F9C1 D8B?E78 D81D @B?7B1= 6B?= !E<I         D? !E<I        '<19>D966 G1C
9>D5B5CD549>D85+>9F5BC9DI?61B=9>7D?>1C9D?665B547B14E1D5@B?7B1=C9> *G8938858?@54
G?E<4 =1;5 89= 1 =?B5 1DDB13D9F5 31>4941D5 D? @B?C@53D9F5 5=@<?I5BC  '<19>D966 1@@<954 D? D85
+>9F5BC9DI 9> 51B<I       2I 69<<9>7 ?ED 1> 14=9CC9?> 6?B= 1>4 5>B?<<54 9> D85 $1CD5BC 9>
 >6?B=1D9?>*538>?<?7I@B?7B1= 
              +@?>5>B?<<=5>DD?D85+>9F5BC9DI'<19>D966@194  9>DE9D9?> 5G1C14F9C54
2I D85 +>9F5BC9DI D81D 85 G?E<4 25 C3854E<54 6?B B57E<1B 3<1CC5C 5F5BI =?>D8  6D5B
3?==5>35=5>D?6D8569BCDC5=5CD5B'<19>D966494>?DB5359F51>I3<1CC5CD?1DD5>4?B1CC97>=5>DC
1C85814255>@B?=9C542ID85+>9F5BC9DI '<19>D9663?>D13D54+>9F5BC9DI14=9>9CDB1D9?>D?69>4
?EDG8I1>4G1CD?<42I+>9F5BC9DI?669391<CD81DD85<13;?63<1CC5C1>41CC97>=5>DCG?E<4>?D25
1>9CCE5 '<19>D9661<C?B53853;54D85+>9F5BC9DIQC133B549D1D9?>?>9DCG52C9D5G89389>4931D54
D81D89CEBB93E<1B'B13D931<*B19>9>7O'*PG1CF1<94 
               I51B 16D5B 5>B?<<9>7 '<19>D966 <51B>54 D81D D85 +>9F5BC9DI =978D 25 6B1E4E<5>D 
'<19>D9663?>D13D54+>9F5BC9DI14=9>9CDB1D9?>D8B55D9=5C &>89CD89B41DD5=@D'<19>D966C@?;5G9D8
+>9F5BC9DI14=9>9CDB1D?B1BB955B>1>4G8?14F9C54'<19>D966D81DD85B5G5B5>?9CCE5C )8?BD<I
            Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 8 of 12




D85B516D5B 8?G5F5B '<19>D966 49C3?F5B54 >5GC ?6 D85 +>9F5BC9DI 259>7 1 CD9>7 ?@5B1D9?> 2I D85
5@1BD=5>D?6?=5<1>4)53EB9DIG9D8=1>ICDE45>DC59D85B1BB5CD54?B45@?BD54 
             '<19>D966QC 5H@5B95>35C G9D8 D85 +>9F5BC9DI 1B5 DI@931< ?6 D85 3<1CC 1>4 ?F5B      
?D85B+>9F5BC9DI?61B=9>7D?>CDE45>DC 
              '<19>D966CE665B549>:EBI9>613D1>4<?CC?6=?>5I?B@B?@5BDI 581C255>41=1754
2I9>D5B1<91D851=?E>DC8581C@194D85+>9F5BC9DI?61B=9>7D?>9>DE9D9?> 
        
                                              
             '<19>D966 2B9>7C D89C 3<1CC 13D9?> ?> 2581<6 ?6 89=C5<6 9>49F94E1<<I 1>4 1<< ?D85BC
C9=9<1B<IC9DE1D54@EBCE1>DD?(E<5 2 1>42?6D85545B1<(E<5C?69F9<'B?354EB5 
              *85 @B?@?C54 3<1CC 3?>C9CDC ?6 1<< @5BC?>C G8? 5>B?<<54 9> 1>4 1DD5>454 D85
+>9F5BC9DI ?6 1B=9>7D?> 6B?=          D?       H3<E454 6B?= D85 <1CC 1B5 D85 +>9F5BC9DI ?6
1B=9>7D?>9DC1669<91D5C5=@<?I55C?66935BC1>449B53D?BC@5BC?>C?B5>D9D95CD81D49CDB92ED54?B
B53BE9D54CDE45>DC6?BD85+>9F5BC9DI?61B=9>7D?>D85!E475C1CC97>54D?D89C31C51>4D85
1DD?B>5IC ?6 B53?B4 9> D89C 31C5  '<19>D966 B5C5BF5C D85 B978D D? 1=5>4 D85 <1CC 4569>9D9?> 96
49C3?F5BI 1>4 6EBD85B 9>F5CD971D9?> B5F51< D81D D85 <1CC C8?E<4 25 5H@1>454 ?B ?D85BG9C5
=?496954 
              *89C13D9?>9C@B?@5B<I2B?E78D1C13<1CC13D9?>6?BD856?<<?G9>7B51C?>C
                 1  *85 @B?@?C54 3<1CC 9C >E=5B?EC 1>4 75?7B1@8931<<I 49C@5BC54 D8B?E78 D85
                     +>9D54)D1D5C1>4?D85B3?E>DB95CCE38D81DD85:?9>45B?61<<3<1CC=5=25BC9C
                     9=@B13D9312<5 -89<5'<19>D9664?5C>?D;>?GD855H13D>E=25B1>4945>D9DI?6
                     1<<3<1CC=5=25BC'<19>D9669C9>6?B=541>425<95F5CD81DD85B51B58E>4B54C?6
                     3<1CC =5=25BC  *85 @B539C5 >E=25B ?6 =5=25BC 31> 25 1C35BD19>54 D8B?E78
                     49C3?F5BI 
                 2  *85 49C@?C9D9?> ?6 '<19>D966QC 1>4 @B?@?C54 3<1CC =5=25BCQ 3<19=C 9> 1 3<1CC
                     13D9?>G9<<@B?F945CE2CD1>D91<25>569DCD?2?D8D85@1BD95C1>4D85?EBD 
                 3  *85@B?@?C543<1CC9C1C35BD19>12<51>4D85B59C1G5<<4569>543?==E>9DI?6
                     9>D5B5CD9>D85AE5CD9?>C?6<1G?B613D1<<575485B59>C9>35D85B978DC?65138
                     @B?@?C543<1CC=5=25BG5B59>6B9>754?BF9?<1D549>D85C1=561C89?> 
                 4  *85B5 1B5 AE5CD9?>C ?6 <1G 1>4 613D 3?==?> D? D85 @B?@?C54 3<1CC G8938
                     @B54?=9>1D5?F5B1>IAE5CD9?>CD81D=1I16653D@1BD93E<1B3<1CC=5=25BC )E38
                     3?==?>AE5CD9?>C?6<1G1>4613D9>3<E452ED1B5>?D<9=9D54D?
                        9   -85D85B D85 3?>4E3D 2I D85 +>9F5BC9DI ?6 1B=9>7D?> G1C E><1G6E<
                             E>619B?B6B1E4E<5>D
                        99  -85D85BD85+>9F5BC9DIQC14F5BD9C9>7G1C<9;5<ID?45359F5D85@E2<93
                        999  -85D85B D85 +>9F5BC9DIQC 3?>4E3D G1C 61<C5 =9C<5149>7 ?B <9;5<I D?
                              45359F5
                        9F  -85D85B D85 +>9F5BC9DI F9?<1D54 D85 $938971> ?>CE=5B 'B?D53D9?>
                             3D
                        F  -85D85B D85 +>9F5BC9DI 2B513854 D85 D5B=C ?6 9DC ?6 3?>DB13D G9D8
                            CDE45>DCD?@B?F94554E31D9?>1<C5BF935C
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          F9  -85D85B D85 +>9F5BC9DIQC 13D9?>C 2B513854 D85 =@<954 ?F5>1>D ?6
               ??419D81>419B51<9>7
          F99  -85D85BD85+>9F5BC9DIE>:ECD<IB5359F546E>4C6B?='<19>D966?B3<1CC
                =5=25BC
          F999  -85D85B D85 +>9F5BC9DI 9C <912<5 6?B 9>D5>D9?>1< 1>4 ?B >57<975>D
                 =9CB5@B5C5>D1D9?>C
          9H  -85D85BD85+>9F5BC9DI9C<912<56?B6B1E4
               -85D85B D85 +>9F5BC9DI 9C <912<5 6?B 6B1E4
          H  -85D85BD85+>9F5BC9DI9C<912<56?B=1;9>761<C5@B?=9C5C
          H9  -85D85BD85'<19>D9661>4@B?@?C543<1CC=5=25BC81F5255>81B=54
               1>4D85@B?@5B=51CEB5?6B5<956
          H99  -85D85B '<19>D966 1>4 D85 @B?@?C54 3<1CC =5=25BC 1B5 5>D9D<54 D? 1>
                1G1B4 ?6 @E>9D9F5 41=175C 1DD?B>5ICQ 655C 1>4 5H@5>C5C 1719>CD D85
                565>41>D1>4
          H999  -85D85B1C1B5CE<D?6565>41>DQC=9C3?>4E3D'<19>D9669C5>D9D<54D?
                 5AE9D12<5B5<9561>496C?D85>1DEB5?6CE38B5<956 
    5  '<19>D966QC3<19=C1B5DI@931<?6D853<19=C?6D85=5=25BC?6D85@B?@?C543<1CC 
        '<19>D966QC3<19=C1B9C56B?=D85C1=5@B13D935C1>43?>4E3DD81D79F5B9C5D?D85
        3<19=C?61<<3<1CC=5=25BC1>41B521C54?>D85C1=5<571<D85?B95C 5G1C
        9>:EB542ID85C1=5GB?>76E<@B13D935C1C?D85B3<1CC=5=25BC 
    6  '<19>D966G9<<619B<I1>4145AE1D5<I@B?D53DD859>D5B5CD?6D85@B?@?C543<1CC9>
        D81D 85 81C >? 9>D5B5CDC 1>D17?>9CD93 D? D8?C5 ?6 D85 ?D85B @B?@?C54 3<1CC
        =5=25BC 1>4 '<19>D966 81C B5D19>54 1DD?B>5IC 5H@5B95>354 9> 3?>CE=5B 3<1CC
        13D9?>C1>43?=@<5H<9D971D9?> 
    7  3<1CC13D9?>9CCE@5B9?BD??D85B1F19<12<5=5D8?4C6?BD85619B1>45669395>D
        14:E4931D9?>?6D89C3?>DB?F5BCI6?B1D<51CDD856?<<?G9>7B51C?>C
          9    9F5> D85 C9J5 ?6 9>49F94E1< @B?@?C54 3<1CC =5=25BCQ 3<19=C 1>4 D85
                5H@5>C5?6<9D971D9>7D8?C53<19=C65G961>I@B?@?C543<1CC=5=25BC
                3?E<4166?B4D??BG?E<4C55;<571<B54B5CC9>49F94E1<<I6?BD85GB?>7C
                565>41>D3?==9DD541719>CDD85=1>412C5>D@B?@?C543<1CC=5=25BC
                81F5>?CE2CD1>D91<9>D5B5CD9>9>49F94E1<<I3?>DB?<<9>7D85@B?C53ED9?>
                ?69>49F94E1<13D9?>C
          99  *8513D9?>G9<<@B?=?D51>?B45B<I1>45H@549D9?EC14=9>9CDB1D9?>1>4
               14:E4931D9?>?6D85@B?@?C543<1CC3<19=C53?>?=95C?6D9=5566?BD1>4
               B5C?EB35CG9<<256?CD5B541>4E>96?B=9DI?64539C9?>CG9<<259>CEB54
          999  -9D8?ED 1 3<1CC 13D9?> @B?@?C54 3<1CC =5=25BC CE665B54 9>:EBI G9<<
                81F5>?B54B5CC1>4565>41>DQCF9?<1D9?>C?6<1GG9<<@B?3554G9D8?ED
                B5=54I G89<5 565>41>D 3?>D9>E5 D? B51@ 1>4 B5D19> D85 CE2CD1>D91<
                @B?3554C?69DCGB?>76E<3?>4E3D1>4
          9F  '<19>D966 ;>?GC ?6 >? 496693E<DI D81D G9<< 25 5>3?E>D5B54 9> D85
               =1>175=5>D?6D89C<9D971D9?>G8938G?E<4@B53<E459DC=19>D5>1>351C
               13<1CC13D9?> 
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           565>41>D81C?B81C1335CCD?144B5CC9>6?B=1D9?>6?BD85<1CC=5=25BCG8938
=1I25EC546?BD85@EB@?C5?6@B?F949>7>?D935?6D85@5>45>3I?6D89C3<1CC13D9?> 
           '<19>D966 C55;C 41=175C 1>4 5AE9D12<5 B5<956 ?> 2581<6 ?6 D85 @B?@?C54 3<1CC ?>
7B?E>4C75>5B1<<I1@@<9312<5D?D855>D9B5@B?@?C543<1CC 
        
                                                  
                                         .#!&,$ ,+0.!0
         ?>DB13DC5H9CD5425DG55>'<19>D9663<1CC=5=25BC1>4D85+>9F5BC9DI?6
1B=9>7D?>G8938G1C3?>DB?<<541>4?@5B1D542I565>41>D 
            565>41>D@EB@?BD54D??665B14=9CC9?>D?D85+>9F5BC9DI9>3<E49>71335CCD?
3<1CC5C1>414F1>354457B55C '<19>D9661>4?D85BCDE45>DC9>4931D54D859B1335@D1>35?6D85?665B
?614=9CC9?>1>4@B?F94543?>C945B1D9?>6?BD853?>DB13D2I@1I9>7DE9D9?>1>4?D85B655C9>D85
1=?E>DC?6        D?=?B5D81>     *85+>9D54)D1D5C2B513854D853?>DB13DG85>9D619<54
D?@B?F945D85?665B543<1CC5C1>4457B55C 
             <<3?>49D9?>C@B53545>DE>45BD853?>DB13DC81F5255>@5B6?B=542I'<19>D9661>4
D85<1CC9>3<E49>7D85@1I=5>D?6DE9D9?>1@@<931D9?>655C1>4?D85B655C 
            565>41>D?@5B1D9>71>43?>DB?<<9>7D85+>9F5BC9DI2B513854D85D5B=C?69DC
CD1>41B49J543?>DB13DCG9D8'<19>D9661>4D85<1CC2I619<9>7D?@B?F945D85=G9D8D85@B?=9C54
@B?4E3DC1>4C5BF935C1C3?>DB13D54 
            *85<1G5>6?B35=5>D@5BC?>>5<6B?=+
                *85 <1G 5>6?B35=5>D @@5BC?>>5< 6B?= + )  ==97B1D9?>
                                                            ==97B1D9?>1>4ECD?=C
                                                                 7       1>4 ECD?=C
>6?B35=5>D?=5<1>4)53EB9DI      >F5CD971D9?>CG8?C53?>4E3D2?E>4D85565>41>D9>3?>DB13D
>6?B35=5>D ?=5<1>4 )53EB9DII >F5CD971D9?>C
                                           7       G8?C5 3?>4E3D 2?E>4 D85 565>41>D 9> 3?>DB13D
G9D8D85'<19>D9661>4D85<1CC=5=25BC81413DE1<1ED8?B9DID?29>4D857?F5B>=5>D9>3?>DB13D
G9D8 D85 '<19>D966 1>4 D85 <1CC =5=25BC 814 13DE1< 1ED8?B9DII D? 29>4 D85 77?F5B>=5>D 9> 3?>DB13D
2531EC56?B=9>7D85C53?>DB13DCG1C>535CC1BI1>45CC5>D91<D?D85CE335CC6E<@5B6?B=1>35?6D85
2531EC5 6?B=9>77 D85C5 3?>DB13DC G1C >535CC1BII 1>4 5CC5>D91< D? D85 CE335CC6E< @@5B6?B=1>35 ?6 D85
175>DCQ1CC97>54D1C;C1>44ED95CB571B49>731BBI9>7?EDD851B=9>7D?>C385=5
175>DCQ
  7     1CC97>54
             7    D1C;C 1>4 4ED95C B571B49>7
                                     7      7 31BBI9>7
                                                  I 7 ?ED D85 1B=9>7D?>
                                                                     7    C385=5 >B?<<9>7
                                                                                    >B?<<9>7
CDE45>DCG1C1>9>D57B1<@1BD?6D851B=9>7D?>C385=51ED8?B9J542I565>41>D
CDE45>DC G1C 1> 9>D57B1< @1BD ?6 D85 1B=9>7D?> C385=5 1ED8?B9J54 2I 565>41>D 
            565>41>DB1D96954D853?>DB13DC
                565>41>D B1D96954 D85 3?>DB13DC *85<1G5>6?B35=5>D@5BC?>>5<6B?=+
                                                  *85 <1G 5>6?B35=5>D @@5BC?>>5< 6B?= + ) 
 ==97B1D9?>1>4ECD?=C>6?B35=5>D?=5<1>4)53EB9DI
 ==97B1D9?>
      7                                                          >F5CD971D9?>CG8?1ED8?B9J54D85
              1>4 ECD?=C >6?B35=5>D ?=5<1>4 )53EB9DII >F5CD971D9?>C
                                                                       7       G8? 1ED8?B9J54 D85
+>9F5BC9DI?61B=9>7D?>C385=51>4D85B5F?31D9?>?61B=9>7D?>CDE45>DCQF9C1CD1DEC814
+>9F5BC9DII ?6 1B=9>7D?>
                       7   C385=5 1>4 D85 B5F?31D9?> ?6 1B=9>7D?>7     CDE45>DCQ F9C1 CD1DEC 814
;>?G<5475?6D85CDE45>D3?>DB13DC1DD85D9=5D85?669391<C1ED8?B9J54B5F?;9>7D85CDE45>DCQF9C1
;>?G<54757 ?6 D85 CDE45>D 3?>DB13DC 1D D85 D9=5 D85 ?669391<C 1ED8?B9J54 B5F?;9>77 D85 CDE45>DCQ F9C1
CD1DEC1>4133EC9>7D85=?6F9C16B1E4
CD1DEC 1>4 133EC9>77 D85= ?6 F9C1 6B1E4  
                                          81CGB9DD5>B53?B4C?651383?>DB13D9>3<E49>7
                                              81C GB9DD5> B53?B4C ?6 5138 3?>DB13D 9>3<E49>77
GB9DD5>3?==E>931D9?>C25DG55>D85CDE45>DC1>4D85175>DC1>4B579CDB1D9?>4?3E=5>DC
GB9DD5> 3?==E>931D9?>C 25DG55> D85 CDE45>DC 1>4 D85 175>DC
                                                          7     1>4 B579CDB1D9?>
                                                                       7          4?3E=5>DC
9>F?935C1>4B5359@DCC5>D6B?=175>DCD?CDE45>DC?B49C@<1I54?>D851B=9>7D?>G52C9D5@?BD1<
9>F?935C 1>4 B5359@DC
                    @ C5>D 6B?= 175>DC
                                   7     D? CDE45>DC ?B 49C@<1I54
                                                           @ I ?> D85 1B=9>7D?>  7    G52C9D5 @@?BD1< 
565>41>D81C1335@D54D8525>569D?6D853?>DB13DC2I;55@9>71<<DE9D9?>=?>5I@1942I'<19>D966
565>41>D 81C 1335@D54
                     @ D85 25>569D ?6 D85 3?>DB13DC 2I ;55@9>7 1<< DE9D9?> =?>5I @194 2I '<19>D966
1>43<1CC=5=25BCE>45BD853?>DB13DC
1>4 3<1CC =5=25BC E>45B D85 3?>DB13DC 

         C1B5CE<D?6565>41>DC2B5138?69DC3?>DB13DC'<19>D9661>4D85<1CC81F5
255>41=1754 
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         Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 11 of 12




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               .#!&,$0&#*-)'#" ,2#++0,$,,"'0&+"'. #)'+%
           '<19>D966B51<<575C1>49>3?B@?B1D5C2IB565B5>35D851<<571D9?>C3?>D19>549>D85
@1B17B1@812?F51C966E<<IC5D6?BD885B59> 
          *85<1G9=@<95C13?F5>1>D?67??4619D81>4619B451<9>79>5F5BI3?>DB13D 
565>41>D?@5B1D9>7D85+>9F5BC9DI?61B=9>7D?>F9?<1D54D89C3?F5>1>D?67??4619D81>4619B
451<9>79>9DC3?>DB13DG9D8'<19>D9661>4=5=25BC?6D85<1CC2I  =9CB5@B5C5>D9>7D?
'<19>D9661>4D85<1CCD85DBE5>1DEB5?6D85+>9F5BC9DI7B14E1D5@B?7B1=1C1<<5754=?B56E<<I
5<C5G85B59>D85?=@<19>D 
         '<19>D9661>4=5=25BC?6D85<1CC@5B6?B=541<<?BCE2CD1>D91<<I1<<?6D85
C97>96931>D4ED95CB5AE9B54E>45BD859B17B55=5>DCG9D8565>41>D 
       *853?>49D9?>CB5AE9B546?B565>41>DQ@5B6?B=1>35E>45BD853?>DB13D
17B55=5>DC814?33EBB54 
        565>41>D494>?D@B?F9451>4 ?BE>619B<I9>D5B65B54G9D8D85B978D?6'<19>D9661>4
<1CC=5=25BCD?B5359F5D8525>569DE>45BD859B17B55=5>DCG9D8565>41>D 
       '<19>D9661>4D85<1CC81F5255>41=17542I565>41>DQC2B5138?6D859=@<954
3?F5>1>D?67??4619D8 
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 -(&('<19>D966@B1ICD89C?EBD5>D5B1:E47=5>D1719>CD565>41>DD81D
     *89C13D9?>2535BD969541>4=19>D19>541C13<1CC13D9?>E>45B(E<5 2 1>42?6
       D85545B1<(E<5C?69F9<'B?354EB51>435BD96ID85@B?@?C543<1CC1C4569>541@@?9>D9>7
       '<19>D9661CB5@B5C5>D1D9F5?6D85<1CC1>41@@?9>D9>7D851DD?B>5IC1>4<1G69B=C
       B5@B5C5>D9>7'<19>D9661C3?E>C5<6?BD85<1CC
     G1B4C3?=@5>C1D?BICD1DED?BI1>4 ?B@E>9D9F541=175C6?B565>41>DQC2B5138?6
       3?>DB13D2B5138?6D859=@<9543?F5>1>D?67??4619D81>4619B451<9>76B1E4>57<975>D
       =9CB5@B5C5>D1D9?>1>461<C5@B?=9C5CG85B5CE38B5<9569C@5B=9DD54
     G1B4'<19>D9661>4@B?@?C543<1CC=5=25BCD853?CDC?6D89C13D9?>9>3<E49>7B51C?>12<5
       1DD?B>5ICQ655C1>45H@5>C5C
     &B45BC565>41>DD?9==5491D5<I351C59DCGB?>76E<3?>4E3D1CC5D6?BD812?F55>:?9>C
       565>41>D6B?=3?>D9>E9>7D?61<C5<I=1B;5D1>414F5BD9C53?>351<=1D5B91<9>6?B=1D9?>
       1>43?>4E3D2EC9>5CCF91D85E><1G6E<1>4E>619B2EC9>5CC13DC1>4@B13D935C3?=@<19>54
       ?685B59>?B45BC565>41>DD?B56B19>6B?=49C3B9=9>1D9>71719>CD'<19>D9661>4<1CC
       =5=25BC9>D85'<19>D9661>4<1CC=5=25BCQ6EDEB51@@<931D9?>CD?5>D5BD85+>9D54
       )D1D5C2531EC5?6'<19>D9661>4<1CC=5=25BCQ5>C>1B5=5>D1DD85+>9F5BC9DI1>4
       B5AE9B5C565>41>DD?B56E>4D?'<19>D9661>41<<?6D85<1CC=5=25BCD856E>4C@194D?
       565>41>D6?BD85CE2:53DDE9D9?>1>4655C
     G1B4C5AE9D12<5=?>5D1BIB5<9569>3<E49>7B5CD9DED9?>1>449C7?B75=5>D?61<<9<<7?DD5>
       719>C1>4D859=@?C9D9?>?613?>CDBE3D9F5DBECDE@?>?B?D85BG9C5B5CDB93D9>7D85
      Case 1:20-cv-01237-NBF Document 8 Filed 01/28/21 Page 12 of 12




     @B?3554C?6565>41>DQC9<<7?DD5>719>CD?5>CEB5D81D'<19>D9661>4@B?@?C543<1CC
     =5=25BC81F51>56653D9F5B5=54I
   G1B4C@B5:E47=5>D1>4@?CD:E47=5>D9>D5B5CD1DD85<571<B1D51>4
   )E386EBD85B<571<1>45AE9D12<5B5<9561CD89C?EBD=1I455=:ECD1>4@B?@5B 
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